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                   EXHIBIT L
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                            *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                            *
 VERSUS                                     *   JUDGE WENDY B. VITTER
                                            *
 MARTIAN SALES, INC; JOPEN, LLC,            *   MAGISTRATE DONNA PHILLIPS
 a Texas limited liability company;         *   CURRAULT
 JOHNSON FOODS, LLC, a Wyoming              *
 limited liability company; LP IND., LLC,   *
 a Wyoming limited liability company;       *
 CAG HOLDINGS, LLC, a Wyoming               *
 limited liability company; RMH             *
 HOLDINGS, INC., a Wyoming                  *
 corporation; ABC INSURANCE                 *
 COMPANY and John Does 1-4.                 *
 ************************                   *


           SECOND SET OF REQUESTS FOR PRODUCTION OF
           DOCUMENTS TO DEFENDANT, CAG HOLDINGS, LLC


TO:          CAG HOLDINGS, LLC, Defendant

      In accordance with FRCP 34, you are required to answer separately each of

the following requests for production and produce such documents for inspection

and copying on or before 30 days from the date of service of these requests at the

offices of mctlaw, 1515 Ringling Blvd., Suite 700, Sarasota, FL 34236.

      Any objection must state whether any responsive materials are being

withheld on the basis of the asserted objection. An objection to part of a request

must specify the part and permit inspection of the rest. Any electronically stored

information must be produced in accordance with FRCP 34(E).
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                                   DEFINITIONS

         1.    The word “documents” shall be construed in the broadest sense

allowable under the rules of civil procedure and other applicable law. “Documents”

includes electronically stored information, including writings, drawings, graphs,

charts, photos, audio and video recordings, images, data or data compilations,

emails, text messages, social media postings, website postings, calendars and

calendar entries, meeting notices, handwritten notes, voice messages, diaries or

journals, photographs, and all drafts.

         2.    “Defendant” means CAG HOLDINGS, LLC, its accountants,

investigators, agents, representatives, employees, and all persons acting or

purporting to act on its behalf.

         3.    The terms in these requests should be interpreted in accordance with

their ordinary and customary meanings and the context of this case, using common

sense.

                         REQUESTS FOR PRODUCTION

         REQUEST NO. 1: Produce all organizational charts or documents that

describe or identify the organizational structure of CAG Holdings, LLC, including

all affiliates, subsidiaries, or parent companies of CAG Holdings, LLC.

         REQUEST NO. 2: Produce all documents that describe or identify the

owners of CAG Holdings, LLC, from formation to present.

         REQUEST NO. 3: Produce all documents that describe or identify the

ownership percentages of all owners of CAG Holdings, LLC, from formation to

present.
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      REQUEST NO. 4: Produce all documents that describe or identify the

owners of all affiliates, subsidiaries, or parent companies of CAG Holdings, LLC.

      REQUEST NO. 5: Produce all balance sheets and income statements for

CAG Holdings, LLC from formation to present.

      REQUEST NO. 6: Produce all U.S. Federal Income Tax Returns for CAG

Holdings, LLC from formation to present.

      REQUEST NO. 7: Produce all documents relied upon, referenced, or

otherwise reviewed in responding to Plaintiff’s Second Set of Interrogatories to CAG

Holdings, LLC.


Date: December 17, 2024
                                           Respectfully submitted,

                                       By: /s/ Michael Cowgill
                                          Michael J. Cowgill (FL Bar # 1010945)
                                          Admitted pro hac vice
                                          Tamara J. Spires (FL Bar #127625)
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                                           and

                                           WAGAR HICKMAN, LLP

                                           NELSON W. WAGAR, III (No. 13136)
                                           SARAH WAGAR HICKMAN (No. 35823)
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                                           Attorneys for Plaintiff, Kathleen Moller
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                         CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 17th day of December 2024, served a

copy of the foregoing pleading on counsel for all parties to this proceeding via

electronic mail, facsimile, and/or by U.S. mail, properly addressed with first-class

postage prepaid.



                                             /s/ Michael Cowgill
                                             Michael Cowgill
